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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    VOYAGER DIGITAL HOLDINGS, INC., et al., 1                       )     Case No. 22-10943 (___)
                                                                    )
                                       Debtors.                     )     (Joint Administration Requested)
                                                                    )

                      DEBTORS’ MOTION SEEKING ENTRY OF
                    AN ORDER (I) AUTHORIZING THE DEBTORS
                  TO FILE A CONSOLIDATED LIST OF CREDITORS
                  IN LIEU OF SUBMITTING A SEPARATE MAILING
                MATRIX FOR EACH DEBTOR, (II) AUTHORIZING THE
            DEBTORS TO FILE A CONSOLIDATED LIST OF THE DEBTORS’
            FIFTY LARGEST UNSECURED CREDITORS, (III) AUTHORIZING
          THE DEBTORS TO REDACT CERTAIN PERSONALLY IDENTIFIABLE
      INFORMATION, (IV) APPROVING THE FORM AND MANNER OF NOTIFYING
       CREDITORS OF COMMENCEMENT, AND (V) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”):




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (N/A); and Voyager Digital, LLC
      (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
      10003.
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                                         Relief Requested

       1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”): (a) authorizing the Debtors to (i) prepare a consolidated list of creditors

in lieu of submitting a separate mailing matrix for each Debtor, (ii) file a consolidated list of the

Debtors’ fifty largest unsecured creditors, and (iii) redact certain personally identifiable

information; (b) approving the form and manner of notifying creditors of the commencement of

these chapter 11 cases; and (c) granting related relief.

                                      Jurisdiction and Venue

       2.      The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, entered February 1, 2012. The Debtors confirm their consent to the Court

entering a final order in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The bases for the relief requested herein are sections 105(a), 107(c), 342(a), and

521 of title 11 of the United States Code (the “Bankruptcy Code”), rules 1007, 2002, and 9013-1

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 1007-1, 5075-1,

and 9013-1(a) of the Local Bankruptcy Rules for the Southern District of New York (the “Local

Rules”).

                                      Jurisdiction and Venue

       5.      On July 5, 2022 (the “Petition Date”), each Debtor filed a voluntary petition for



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relief under chapter 11 of the Bankruptcy Code. A detailed description of the facts and

circumstances of these chapter 11 cases is set forth in the Declaration of Stephen Ehrlich, Chief

Executive Officer of the Debtors, in Support of Chapter 11 Petitions and First Day Motions

(the “First Day Declaration”), filed contemporaneously with this Motion and incorporated by

reference herein. 2

         6.       The Debtors are operating their business and managing their property as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. Concurrent with the

filing of this Motion, the Debtors filed a motion requesting procedural consolidation and joint

administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). No request for the

appointment of a trustee or examiner has been made in these chapter 11 cases, and no official

committees have been appointed or designated.

                                                 Basis for Relief

I.       Cause Exists to Authorize the Debtors to Prepare a List of Creditors in Lieu of
         Submitting a Formatted Mailing Matrix.

         7.       Section 521(a) of the Bankruptcy Code, Bankruptcy Rule 1007(a)(1), and

Local Rule 1007-1(a) require a debtor in a voluntary chapter 11 case to file a list containing the

name and complete address of each creditor. In addition, Bankruptcy Rule 1007(d) requires a

debtor to file a list containing the name, address, and claim of the creditors holding the twenty

largest unsecured claims against the debtor.

         8.       Permitting the Debtors to maintain a consolidated list of their creditors

(the “Creditor Matrix”) in electronic format only, in lieu of each Debtor filing a creditor matrix, is

warranted under the circumstances of these cases. Because the Debtors have many thousands of



2    Capitalized terms not defined herein shall have the meanings ascribed to such terms in the First Day Declaration.



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creditors and other parties in interest, converting the Debtors’ computerized information to a

format compatible with the matrix requirements would be a burdensome task and would greatly

increase the risk of error with respect to information already on computer systems maintained by

the Debtors or their agents.

        9.        The Debtors, working together with Stretto, Inc. (“Stretto”) as their notice and

claims agent in these chapter 11 cases (the “Proposed Claims and Noticing Agent”), 3 have already

prepared a single, consolidated list of the Debtors’ creditors in electronic format. The Debtors are

prepared to make the Creditor Matrix available in electronic form to any party in interest who so

requests (or in non-electronic form at such requesting party’s sole cost and expense) in lieu of

submitting a mailing matrix to the clerk of this Court.

        10.       The Debtors submit that the proposed maintenance of the Creditor Matrix with the

Proposed Claims and Noticing Agent is consistent with applicable Local Rules. Pursuant to

Local Rule 5075-1, a debtor filing a petition with more than 250 creditors and equity interest

holders, in the aggregate, as is the case here, is required to retain an approved claims and noticing

agent pursuant to an order of this Court.

        11.       Courts in this jurisdiction have approved relief similar to the relief requested herein

with respect to preparation of a consolidated, electronic list of a debtor’s creditors. See, e.g., In re

Revlon, Inc., No. 22-10760 (DJS) (Bankr. S.D.N.Y. June 17, 2022) (authorizing the debtors to

prepare a list of creditors in lieu of submitting a formatted mailing matrix); In re GTT Comm’ns,

Inc., No. 21-11880 (MEW) (Bankr. S.D.N.Y. Nov. 4, 2021) (same); In re Jason Industries, Inc.,


3   The request to retain the Proposed Claims and Noticing Agent is made pursuant to section 156(c) of title 28 of
    the United States Code, which empowers the Court to use outside facilities or services pertaining to the provision
    of notice of administrative information to parties in interest so long as the costs of the services are paid for out of
    assets of the estate. See 28 U.S.C. § 156(c); see also Debtors’ Application Seeking Entry of an Order
    (I) Authorizing and Approving the Appointment of Stretto, Inc. as Claims and Noticing Agent and (II) Granting
    Related Relief, filed contemporaneously herewith.



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 No. 20-22766 (RDD) (Bankr. S.D.N.Y. July 27, 2020) (same); In re Lakeland Tours, LLC,

 No. 20-11647 (JLG) (Bankr. S.D.N.Y. July 27, 2020) (same); In re Frontier Communications

 Corporation, Inc., No. 20-22476 (RDD) (Bankr. S.D.N.Y. May 26, 2020) (same); In re Deluxe

 Media, No. 19-23774 (RDD) (Bankr. S.D.N.Y. Oct. 9, 2019) (same); In re Barneys New York,

 Inc., No. 19-36300 (CGM) (Bankr. S.D.N.Y. Nov. 4, 2019) (same). 4

 II.       Cause Exists to Authorize the Debtors to File a Single Consolidated List of the
           Debtors’ Fifty Largest Unsecured Creditors.

           12.      Bankruptcy Rule 1007(d) provides that a debtor shall file “a list containing the

 name, address, and claim of the creditors that hold the 20 largest unsecured claims, excluding

 insiders.” Because certain of the Debtors share many creditors and the Debtors operate as a single

 business enterprise, the Debtors request authority to file a single, consolidated list of their fifty

 largest general unsecured creditors.

           13.      Compiling separate top twenty creditor lists for each individual Debtor would

 consume a substantial amount of the Debtors’ time and resources. Further, the Debtors believe a

 single, consolidated list of the Debtors’ fifty largest unsecured, non-insider creditors will aid the

 United States Trustee for the Southern District of New York (the “U.S. Trustee”) in its efforts to

 communicate with these creditors. Filing a single consolidated list of the fifty largest unsecured

 creditors in these chapter 11 cases is appropriate for these reasons.

           14.      Courts in this jurisdiction have approved relief similar to the relief requested herein

with respect to filing a single consolidated list of the largest unsecured creditors of a debtor and its

debtor affiliates. See, e.g., In re Revlon, Inc., No. 22-10760 (DJS) (Bankr. S.D.N.Y. June 17, 2022)

(authorizing the debtors to file a single list of their fifty largest unsecured creditors); In re GTT


 4     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
       Copies of these cited orders are available upon request to the Debtors’ proposed counsel.



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Communications, Inc., No. 21-11880 (MEW) (Bankr. S.D.N.Y. Nov. 4, 2021) (authorizing the

debtors to file a single list of their thirty largest unsecured creditors); In re Jason Industries, Inc.,

No. 20-22766 (RDD) (Bankr. S.D.N.Y. July 27, 2020) (authorizing the debtors to file a single list

of their thirty-five largest unsecured creditors); In re Lakeland Tours, LLC, No. 20-11647 (JLG)

(Bankr. S.D.N.Y. July 27, 2020) (authorizing the debtors to file a single list of their fifty largest

unsecured creditors); In re Frontier Communications Corporation, Inc., No. 20-22476 (RDD)

(Bankr. S.D.N.Y. May 26, 2020) (same); In re Deluxe Media, No. 19-23774 (RDD) (Bankr.

S.D.N.Y. Oct. 9, 2019) (authorizing the debtors to file a single list of their thirty largest unsecured

creditors); In re Barneys New York, Inc., No. 19-36300 (CGM) (Bankr. S.D.N.Y. Nov. 4, 2019)

(same). 5

  III.       Cause Exists to Redact Certain Personal Identification Information for Individual
             Creditors.

             15.      Section 107(c) of the Bankruptcy Code provides that the Court:

                      for cause, may protect an individual, with respect to the following
                      types of information to the extent the court finds that disclosure of
                      such information would create undue risk of identity theft or other
                      unlawful injury to the individual or the individual’s property:

                      (A) Any means of identification . . . contained in a paper filed, or to
                      be filed in a case under [the Bankruptcy Code].

                      (B) Other information contained in a paper described in
                      subparagraph (A).

  11 U.S.C. § 107(c)(1).

             16.      In addition, privacy and data protection regulations have been enacted in key

  jurisdictions. The United Kingdom Data Protection Act of 2018 and the United Kingdom General




  5      Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
         Copies of these cited orders are available upon request to the Debtors’ proposed counsel.



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Data Protection Regulation (together, the “UK GDPR”), the European General Data Protection

Regulation (the “EU GDPR”), and similar laws in other jurisdictions, impose significant

constraints on the processing (which includes the transferring or disclosing of) information relating

to identified or identifiable individuals (which includes names and home addresses of individuals

and individual business contacts) (“Personal Data”). The UK GDPR and EU GDPR apply to the

processing of Personal Data in the context of an establishment of a controller or processor in the

United Kingdom, regardless of whether the processing takes place in the United Kingdom, or the

European Economic Area, regardless of whether the processing takes place in the European

Economic Area (and, in some circumstances, organizations established in other countries when

processing Personal Data relating to individuals located in the United Kingdom or European

Economic Area).

       17.     The UK GDPR and EU GDPR require a legal basis for any processing (including

disclosure) of Personal Data. The only possible legal basis that may apply for disclosing the

Personal Data in this instance would be the “legitimate interests” ground (Article 6(1)(f) UK

GDPR and EU GDPR). This ground, however, will only apply where the processing is necessary

for the relevant purpose. Such processing will not be necessary where there is a less intrusive way

of achieving that purpose. This ground will also not apply if, when balanced against each other,

the rights and freedoms of the relevant individuals override the legitimate interest in question. The

legal basis of “compliance with a legal obligation” (Article 6(1)(c) UK GDPR and EU GDPR)

would not be applicable in this situation because the legal obligation must exist under UK or EU

law, which is not the case in the context of this chapter 11 case.

       18.     In addition, processing (including disclosure) under the UK GDPR and EU GDPR

must comply with certain key principles, including the principle of data minimization, which




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requires that any processing must be necessary in relation to its purpose. The disclosure of the

unredacted names and home addresses (or other Personal Data) of individual creditors on the

public docket is not necessary for the purpose of reviewing the claim amounts of individual

creditors in connection with a plan of reorganization or administering the chapter 11 cases, and the

proposed redaction would be a less intrusive way of achieving this purpose. The right of individual

creditors not to have their unredacted names and home addresses disclosed on the public docket

would also override the legitimate interest of disclosing such information to facilitate these

chapter 11 cases. Disclosure in an unredacted form therefore risks breaching the UK GDPR and

EU GDPR on account of (i) having no legal basis and (ii) breaching the minimization principle.

       19.     Violators of the UK GDPR and EU GDPR risk severe penalties. If an organization

is found to have processed information in breach of the UK GDPR, the organization may be fined

up to the higher of £17,500,000 or 4% of worldwide annual turnover—i.e., total annual revenues—

of the preceding financial year. See United Kingdom Data Protection Act 2018, section 157(5)(a)

(as amended by Data Protection, Privacy and Electronic Communications (Amendments etc.)

(EU Exit) Regulations 2019). Similarly, for a breach of the EU GDPR, the organization may be

fined up to the higher of €20,000,000 or 4% of worldwide annual turnover—i.e., total annual

revenues—of the preceding financial year.         See General Data Protection Regulation (EU)

2016/679, art. 83(5). The processing of information includes transferring or disclosing it to others.

The UK GDPR and EU GDPR may apply to the Debtors, specifically, as certain of the Debtors

may be processing data relating to their individual creditors, including employees, contract




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workers, and individual equity holders in the context of an establishment in the United Kingdom

or in a member state of the European Economic Area.

        20.      The Debtors respectfully submit that it is appropriate to authorize the Debtors to

redact from any paper filed or to be filed with the Court in these chapter 11 cases, including the

Creditor Matrix and Schedules and Statements, 6 (a) the home addresses of individual creditors—

including the Debtors’ employees and contract workers—and individual equity holders and (b) the

names, addresses, and other Personal Data of any natural person to the extent they are processed

subject to the UK GDPR or EU GDPR because, respectively, (x) such information can be used to

perpetrate identity theft and phishing scams, or to locate survivors of domestic violence,

harassment, or stalking under 11 U.S.C. § 107(c)(1) and (y) disclosure risks violating the UK

GDPR and EU GDPR, exposing the Debtors to potential civil liability and significant financial

penalties. The risk in relation to 11 U.S.C. § 107(c)(1) is not merely speculative. In at least one

recent chapter 11 case, the abusive former partner of a debtor’s employee used the publicly

accessible creditor and employee information filed in the chapter 11 case to track the employee at

her new address that had not been publicly available until then, forcing the employee to change

addresses again. 7 This event suggests that disclosure of Personal Data would not satisfy a




6   “Schedules and Statements” has the meaning assigned to it in the Debtors’ Motion for Entry of an Order
    (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Current Income and Expenditures,
    Schedules of Executory Contracts and Unexpired Leases, Statements of Financial Affairs, and Rule 2015.3
    Financial Reports; (II) Waiving Requirements to File List of Equity Holders; and (III) Granting Related Relief,
    filed contemporaneously herewith.
7   The incident, which took place during the first Charming Charlie chapter 11 proceedings in 2017, is described in
    the “creditor matrix motion” filed in Charming Charlie Holdings Inc., Case No. 19-11534 (CSS) (Bankr. D. Del.
    Jul. 11, 2019), ECF No. 4.



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legitimate interests assessment and would not be compliant with the minimization principle under

the UK GDPR and EU GDPR.

       21.     The Debtors propose to provide an unredacted version of the Creditor Matrix,

Schedules and Statements, and any other applicable filings redacted pursuant to the proposed

orders to (a) the Court, the U.S. Trustee, counsel to any official committee appointed in these

chapter 11 cases, and (b) any party in interest upon a request to the Debtors (email is sufficient) or

to the Court that is reasonably related to these chapter 11 cases. In each case, this would be subject

to a review of whether such disclosure, on a case-by-case basis, would violate any obligation under

the UK GDPR, EU GDPR or any other privacy or data protection law or regulation. In addition,

the Debtors will distribute as applicable any notices that are received at the Debtors’ corporate

headquarters and are intended for a current employee.

       22.     Courts in this jurisdiction have granted the relief requested herein in comparable

chapter 11 cases. See, e.g., In re Vewd Software USA, LLC, No. 21-12065 (MEW) (Bankr.

S.D.N.Y. Dec. 17, 2021) (authorizing the debtors to redact home addresses of individuals listed on

the creditor matrix or other documents filed with the court and names and addresses of individuals

protected by the GDPR); In re GTT Commc’ns. Inc., No. 21-11880 (MEW) (Bankr. S.D.N.Y. Nov.

4, 2021) (authorizing the debtors to redact personally identifiable information, including home

addresses and personal e-mail addresses, of individuals listed on the creditor matrix or other

documents filed with the court and names and addresses of individuals protected by the GDPR);

In re Grupo Posadas S.A.B. de C.V., No. 21-11831 (SHL) (Bankr. S.D.N.Y. Oct. 27, 2021)

(authorizing the debtors to redact personally identifiable information, including home addresses

and personal e-mail addresses, of individuals listed on the creditor matrix or other documents filed

with the court); In re MatlinPatterson Glob. Opportunities Partners II L.P., No. 21-11255 (DSJ)




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(Bankr. S.D.N.Y. July 9, 2021) (authorizing the debtors to redact personally identifiable

information, including home addresses, of individual creditors listed on any document filed with

the court and certain limited partners listed on the corporate ownership statement); In re

Automotores Gildemeister SpA, No. 21-10685 (LGB) (Bankr. S.D.N.Y. Apr. 15, 2021)

(authorizing the debtors to redact the home addresses of individuals listed on the consolidated

creditors list or other documents filed with the court); In re Garrett Motion Inc., No. 20-12212

(MEW) (Bankr. S.D.N.Y. Sept. 24, 2020) (authorizing the debtors to file under seal the portions

of the creditor matrix containing the addresses of the debtors’ current and former employees and

individual contractors); In re Centric Brands Inc., No. 20-22637 (SHL) (Bankr. S.D.N.Y. Sept.

23, 2020) (authorizing the debtors to redact the home addresses of current or former employees,

certain customers, and other parties in interest listed on the creditor matrix or similar documents

filed with the court); In re Jason Indus., Inc., No. 20-22766 (RDD) (Bankr. S.D.N.Y. July 27,

2020) (authorizing the debtors to redact home addresses of individuals listed on the creditor matrix

or other documents filed with the court and names and addresses of individuals protected by the

GDPR); In re Lakeland Tours, LLC, No. 20-11647 (JLG) (Bankr. S.D.N.Y. July 22, 2020) (same);

In re Frontier Commc’ns. Corp., No. 20-22476 (RDD) (Bankr. S.D.N.Y. May 26, 2020)

(authorizing the debtors to redact home addresses of individuals listed on the creditor matrix,

schedules and statements, or other documents filed with the court); In re The McClatchy Co.,

No. 20-10418 (MEW) (Bankr. S.D.N.Y. Feb. 14, 2020) (authorizing the debtors to use corporate

addresses for, or redact address information of, individual creditors on the creditor matrix); In re

Fairway Grp. Holdings Corp., No. 20-10161 (JLG) (Bankr. S.D.N.Y. Feb. 3, 2020) (authorizing

the debtors to redact address information of individual creditors and interest holders listed on the

creditor matrix and lists of equity holders); Aegean Marine Petroleum Network Inc., No. 18-13374




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(MEW) (Bankr. S.D.N.Y. Jan. 22, 2020) (authorizing the debtors to redact personal information

from public versions of the statements and schedules); In re Barneys New York, Inc., No. 19-36300

(CGM) (Bankr. S.D.N.Y. Nov. 4, 2019) (authorizing the debtors to redact personally identifiable

information, including home address information, of their employees on the creditor matrix,

schedules and statements, or similar documents filed with the court). 8

        23.      Courts in this and other districts have also expounded on the importance of

authorizing debtors to redact employees’ and other individual creditors’ personally identifiable

information. In In re Windstream, Judge Drain noted that the consequences of releasing private

information could be “very serious,” and “[o]nce [private information is] out there, it’s out there.”

In re Windstream Holdings, Inc., No. 19-22312 (RDD) (Bankr. S.D.N.Y. Feb. 26, 2019), Hr’g Tr.

at 88:6-12, 89:5-8. In Forever 21, in overruling the objection of the United States Trustee for the

District of Delaware to the same redaction relief proposed here, Judge Gross noted that “[w]e live

in a new age in which the theft of personal identification is a real risk, as is injury to persons who,

for personal reasons, seek to have their addresses withheld.” In re Forever 21, Inc., No. 19-12122

(KG) (Bankr. D. Del. Dec. 19, 2019), Hr’g Tr. at 60:22–25. Judge Gross further found that it was

not necessary to the effective administration of the debtors’ bankruptcy estates to disclose the

personally identifiable information of the debtors’ stakeholders who are European Economic Area

citizens, which created risk that debtors could be fined under the UK or EU GDPR for unnecessary

disclosures of personal information.

                 But I’ll say the GDPR contains a necessity test in its guidelines. Is
                 disclosure necessary for the legal proceedings at hand? Clearly,
                 disclosing home addresses is not necessary for the conduct of the
                 bankruptcy case and the absence of the address does not prejudice

8   Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these cited orders are available upon request to the Debtors’ proposed counsel.



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                anyone; indeed, there’s been no objection from any creditor in this
                case.
Id., Hr’g Tr. at 62:16–22.

        24.     For these reasons, the Debtors respectfully submit that cause exists to authorize the

Debtors to redact, pursuant to 11 U.S.C. § 107(c)(1) and in compliance with the UK GDPR and

EU GDPR, the home addresses of individuals (and, where such information has been provided to,

and is being processed by, an organization with an establishment located in the United Kingdom

or a member state of the European Economic Area, the names, home addresses, and other Personal

Data of any individual) listed on the Creditor Matrix, Schedules and Statements, or any other

document filed with the Court. Absent such relief, the Debtors (a) may be in violation of

applicable data privacy law, thereby exposing them to severe monetary penalties that could

threaten the Debtors’ operations during this sensitive stage of their restructuring, (b) would

unnecessarily render individuals more susceptible to identity theft, and (c) could jeopardize the

safety of employees, contract workers, and other individual creditors or individual equity holders

who, unbeknownst to the Debtors, are survivors of domestic violence, harassment, or stalking by

publishing their home addresses without any advance notice or opportunity to opt out or take

protective measures.

IV.     The Court Should Authorize Stretto to Mail Required Notices to Creditors.

        25.     Bankruptcy Rule 2002(a)(1) provides that the clerk (or other person directed by the

Court) must give the debtor, the U.S. Trustee, all creditors, and any indenture trustee at least

twenty-one days’ notice by mail of the meeting of creditors under section 341 of the Bankruptcy

Code. Bankruptcy Rule 2002(f)(1) further provides that notice of “the order for relief” shall be

sent by mail to all creditors.




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       26.     The Debtors propose that Stretto undertake all mailings directed by the Court or the

U.S. Trustee, or as required by section 342(a) of the Bankruptcy Code and Bankruptcy Rules

2002 (a) and (f), including the notice of commencement of these chapter 11 cases, substantially in

the form attached as Exhibit 1 to Exhibit A attached hereto. The Debtors believe that using Stretto

to promptly provide notices to all applicable parties will maximize efficiency in administering

these chapter 11 cases and will ease administrative burdens that would otherwise fall upon the

Court and the U.S. Trustee. Additionally, Stretto will assist the Debtors in preparing creditor lists

and mailing initial notices, and therefore there are efficiencies in authorizing Stretto to mail the

notice of commencement of these chapter 11 cases. Accordingly, the Debtors respectfully submit

that Stretto should undertake such mailings.

                                         Motion Practice

       27.     This Motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this Motion.

Accordingly, the Debtors submit that this Motion satisfies Local Rule 9013-1(a).

                                               Notice

       28.     The Debtors will provide notice of this Motion to the following parties and/or their

respective counsel, as applicable: (a) the U.S. Trustee; (b) the holders of the 50 largest unsecured

claims against the Debtors (on a consolidated basis); (c) the lender under the Debtors’ prepetition

loan facility; (d) the United States Attorney’s Office for the Southern District of New York; (e) the

Internal Revenue Service; (f) the Toronto Stock Exchange; (g) the attorneys general in the states

where the Debtors conduct their business operations; and (h) any party that has requested notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.




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                                       No Prior Request

       29.     No prior request for the relief sought in this Motion has been made to this or any

other court.



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       WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Dated: July 6, 2022                 /s/ Joshua A. Sussberg
New York, New York                  KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    Joshua A. Sussberg, P.C.
                                    Christopher Marcus, P.C.
                                    Christine A. Okike, P.C.
                                    Allyson B. Smith (pro hac vice pending)
                                    601 Lexington Avenue
                                    New York, New York 10022
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                                    Proposed Counsel to the Debtors and Debtors in Possession
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                                   Exhibit A

                                Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    VOYAGER DIGITAL HOLDINGS, INC., et al., 1                       )     Case No. 22-10943 (___)
                                                                    )
                                       Debtors.                     )     (Joint Administration Requested)
                                                                    )

                         ORDER (I) AUTHORIZING THE
                  DEBTORS TO FILE A CONSOLIDATED LIST OF
                CREDITORS IN LIEU OF SUBMITTING A SEPARATE
             MAILING MATRIX FOR EACH DEBTOR, (II) AUTHORIZING
         THE DEBTORS TO FILE A CONSOLIDATED LIST OF THE DEBTORS’
           FIFTY LARGEST UNSECURED CREDITORS, (III) AUTHORIZING
         THE DEBTORS TO REDACT CERTAIN PERSONALLY IDENTIFIABLE
      INFORMATION, (IV) APPROVING THE FORM AND MANNER OF NOTIFYING
        CREDITORS OF COMMENCEMENT OF THESE CHAPTER 11 CASES, AND
                        (V) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to

(i) prepare a consolidated list of creditors in lieu of submitting a separate mailing matrix for each

Debtor, (ii) file a consolidated list of the Debtors’ fifty largest unsecured creditors, and (iii) redact

certain personally identifiable information; (b) approving the form and manner of notifying

creditors of the commencement of these chapter 11 cases; and (c) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the Southern District of New York,


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (N/A); and Voyager Digital, LLC
      (8013). The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY
      10003.
2     Capitalized terms used but not defined herein have the meanings given to such terms in the Motion.
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entered February 1, 2012; and that this Court having the power to enter a final order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      As soon as practicable after entry of an order authorizing the engagement of the

Proposed Claims and Noticing Agent in these chapter 11 cases, the Debtors shall furnish to the

Proposed Claims and Noticing Agent a consolidated creditor list.

        3.      In lieu of submitting a formatted mailing matrix, the Debtors, with the assistance

of the Proposed Claims and Noticing Agent (upon the Court’s approval of the Debtors’ retention

of the Proposed Claims and Noticing Agent), shall make available a single, consolidated list of all

of the Debtors’ creditors in electronic form to any entity who so requests and in non-electronic

form at such requesting entity’s sole cost and expense.

        4.      The notice of commencement of these chapter 11 cases, substantially in the form

attached to this Order as Exhibit 1, is hereby approved.




                                                   2
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        5.      The Debtors are authorized to file a consolidated list of the fifty largest unsecured

creditors in these chapter 11 cases in lieu of each Debtor filing a list of its twenty largest unsecured

creditors.

        6.      The Debtors are authorized to redact on the Creditor Matrix, Schedules and

Statements, or other document filed with the Court (a) the home addresses of individuals and (b)

the names, addresses, and other Personal Data of any natural person whose personally identifiable

information has been provided to an organization with an establishment in the United Kingdom or

a European Economic Area member state. The Debtors shall provide an unredacted version of the

Creditor Matrix, Schedules and Statements, and any other filings redacted pursuant to this Order

to (x) the Court, the U.S. Trustee, and counsel to any official committee appointed in these chapter

11 cases, and (y) to any party in interest upon a request to the Debtors (email is sufficient) or to

the Court that is reasonably related to these chapter 11 cases; provided that any receiving party

shall not transfer or otherwise provide such unredacted document to any person or entity not party

to the request. The Debtors shall inform the U.S. Trustee promptly after denying any request for

an unredacted document pursuant to this Order.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 New York, New York
 Dated: ____________, 2022

                                                  THE HONORABLE [●]
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                   3
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                                   Exhibit 1

                            Notice of Commencement
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    Information to identify the case:


    Debtor:        Voyager Digital Holdings, Inc. 1                                         EIN       8 2 – 3 9 9 7 6 8 7.
                   Name



    United States Bankruptcy Court for the: Southern District of New York                  Date case filed for chapter 11:    July 05, 2022
                                                                        (State)                                               MM / DD / YYYY



    Case Number:          22-10943 ([●])_________


    Official Form 309F1 (For Corporations or Partnerships)
    Notice of Chapter 11 Bankruptcy Case                                                                                                          10/20

    For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
    been entered.
    This notice has important information about the case for creditors and debtors, including information about the
    meeting of creditors and deadlines. Read both pages carefully.
    The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
    collect debts from the debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency,
    repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or
    otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
    Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge
    may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below for more
    information.)
    To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at the address
    listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

    The staff of the bankruptcy clerk’s office cannot give legal advice.

    Do not file this notice with any proof of claim or other filing in the case.

    1.        Debtors’ full name: See chart below.
              List of Jointly Administered Cases

     No.      Debtor                                Former Name                   Address                    Case No.              EIN #

     1        Voyager Digital Holdings, Inc.        N/A                           33 Irving Place,           22-10943 ([●])        XX-XXXXXXX
                                                                                  3rd Floor New York,
                                                                                  NY 10003



     2        Voyager Digital Ltd.                  Voyager Digital               333 Bay Street             22-10944 ([●])        N/A
                                                    (Canada) Ltd.                 Suite 2400 Toronto,
                                                                                  Ontario M5H 2R2



     3        Voyager Digital, LLC                  N/A                           78 SW 7th Street,          22-10945 ([●])        XX-XXXXXXX
                                                                                  8th Floor Miami,
                                                                                  FL 33130




1
         The Debtors have requested joint administration of these chapter 11 cases. The location of the Debtors’ service address for purposes of these
         chapter 11 cases is: 33 Irving Place, 3rd Floor New York, NY 10003.


                                                                                                                 For more information, see page 2 ►

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                                                                                number (if known) 22-10943 ([●])_______________
     Debtor         Voyager Digital Holdings, Inc.               Pg 23 of 24
                      Name




    2.    All other names used in the
                                              See chart above
          last 8 years


    3.    Address                             See chart above




                                              Joshua A. Sussberg, P.C.
                                              Christopher Marcus, P.C.
                                              Christine A. Okike, P.C.
                                              Allyson B. Smith
    4.    Debtor’s attorney                   Kirkland & Ellis LLP
          Name and address                    Kirkland & Ellis International LLP
                                              601 Lexington Avenue
                                              New York, New York 10022
                                              Telephone: (212) 446-4800
                                              Facsimile: (212) 446-4900




                                                                                           U.S. Bankruptcy Court              Hours open
                                                                                        Southern District of New York         8:30 a.m. to 5:00 p.m. (prevailing
    5.    Bankruptcy clerk’s office
                                                                                            One Bowling Green                 Eastern Time) 2
          Documents in this case may be
                                                                                           New York, NY 10004
          filed at this address. You may
                                                                                                                              Contact phone:
          inspect all records filed in this
                                                                                        All documents in this case are        (212) 668-2870
          case at this office or online at
                                                                                       available free of charge on the
          https://pacer.uscourts.gov.                                                   website of the Debtors’ notice
                                                                                              and claims agent at
                                                                                      https://cases.stretto.com/Voyager
    6.    Meeting of creditors
          The debtor’s representative must                                            Time and Date to be Determined          Location to be Determined
          attend the meeting to be                                                    The meeting may be continued or
          questioned under oath.                                                      adjourned to a later date. If so, the
          Creditors may attend, but are not                                           date will be on the court docket.
          required to do so.


    7.    Proof of claim deadline              Deadline for filing proof of claim:                           Not yet set. If a deadline is set
                                                                                                             court will send you another notice.



                                               A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may be obtained
                                               at www.uscourts.gov or any bankruptcy clerk’s office.
                                               Your claim will be allowed in the amount scheduled unless:
                                               ☒ your claim is designated as disputed, contingent, or unliquidated;
                                               ☒ you file a proof of claim in a different amount; or
                                               ☒ you receive another notice.
                                               If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                               file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                               may file a proof of claim even if your claim is scheduled.

                                               You may review the schedules at the bankruptcy clerk’s office or online at https://pacer.uscourts.gov.

                                               Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                               of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                               For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                               including the right to a jury trial.



2        Please reference the Court’s website for operating procedures in response to the COVID-19 pandemic: http://www.nysb.uscourts.gov/general-orders-
         and-guidance-created-covid-19.


Official Form 309F1 (For Corporations or Partnerships) Notice of Chapter 11 Bankruptcy Case                                                     page 2
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                                                                          number (if known) 22-10943 ([●])_______________
 Debtor       Voyager Digital Holdings, Inc.               Pg 24 of 24
                Name




8.   Exception to discharge              If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                            proceeding by filing a complaint by the deadline stated below.
     The bankruptcy clerk’s office
     must receive a complaint and        Deadline for filing the complaint:                          Not yet set. If a deadline is set
     any required filing fee by the                                                                  court will send you another notice.
     following deadline.


9.   Creditors with a foreign            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court
     address                             to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                         you have any questions about your rights in this case.


10. Filing a Chapter 11                  Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
    bankruptcy case                      court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the
                                         plan, and you may have the opportunity to vote on the plan. You will receive notice of the date of the
                                         confirmation hearing, and you may object to confirmation of the plan and attend the confirmation hearing.
                                         Unless a trustee is serving, the debtor will remain in possession of the property and may continue to
                                         operate its business.


11. Discharge of debts                   Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                         debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from
                                         the debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from
                                         the discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint
                                         and paying the filing fee in the bankruptcy clerk’s office by the deadline.




Official Form 309F1 (For Corporations or Partnerships) Notice of Chapter 11 Bankruptcy Case                                            page 3
